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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY
INC., et al.,
                                        CIVIL ACTION
          Plaintiffs,
                                        FILE NO. 1:21-CV-05337-SCJ
     v.

BRAD RAFFENSPERGER,

          Defendant.

ANNIE LOIS GRANT, et al.,

          Plaintiffs,
                                      CIVIL ACTION
     v.
                                      FILE NO. 1:22-CV-00122-SCJ
BRAD RAFFENSPERGER,

          Defendant.

COAKLEY PENDERGRASS, et al.,

          Plaintiffs,

     v.                               CIVIL ACTION

BRAD RAFFENSPERGER,                   FILE NO. 1:21-CV-05339-SCJ

          Defendant.



  CONSOLIDATED RESPONSE TO PLAINTIFFS’ OBJECTIONS
            REGARDING REMEDIAL PLANS
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                               INTRODUCTION

      Plaintiffs all agree or do not contest that Georgia has created “an

additional majority-Black congressional district in west-metro Atlanta; two

additional majority-Black Senate districts in south-metro Atlanta; two

additional majority-Black House districts in south-metro Atlanta, one

additional majority-Black House district in west-metro Atlanta, and two

additional majority-Black House districts in and around Macon-Bibb.”

Compare Order,1 p. 509 with [APA Doc. 354, p. 18], [Grant Doc. 317, pp. 6–7],

[Pendergrass Doc. 317, p. 6]. This critical concession should end the Court’s

inquiry, and Georgia should be permitted to implement the compliant remedial

plans without further delay.

      The sole basis for Plaintiffs’ objections is apparently that they simply

wish the General Assembly had accepted their maps instead of drawing its

own, despite repeatedly insisting at trial that their maps were merely

illustrative of what could be drawn. The objections to the remedial plans

reinforce what Defendant has said from the beginning: that Plaintiffs’ case is

about electing more Democrats. Indeed, the fact that the General Assembly




1 For ease of reference, citations to documents in each case’s docket are
referenced by the case name. The Court’s final order in all three cases is
referenced as “the Order” throughout this brief. All page number citations are
to the blue numbers added by the ECF system at the top of each page.

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added the required majority-Black districts while not substantially increasing

Democratic political performance is apparently why Plaintiffs object to the

plans. But this Court has consistently said this case is about the number of

majority-Black districts—not Democratic districts and not particular

candidates. The Court expressly found that “the number of Black-preferred

candidates who are successfully elected is not the proper consideration for

proportionality,” Order, p. 478 (emphasis added), but rather the number of

majority-Black districts was the proper consideration for determining equal

openness. But now that the trial is over, Plaintiffs advance the theory that

Georgia is required to protect even majority-white districts due solely to the

fact that they currently elect Democratic officials, even though this is not what

the Voting Rights Act or this Court required. See, e.g., [Grant Doc. 317, pp. 16–

17].

       Ultimately, Plaintiffs advance three objections to the remedial plans: (1)

this Court indirectly limited the districts the General Assembly could modify,

so going outside of those boundaries was improper; (2) the individual line-

drawing decisions made by the General Assembly are invalid for a variety of

asserted reasons; and (3) the General Assembly eliminated “minority

opportunity districts,” which was not separately defined in the Order and

about which Plaintiffs and Amici offer at least three different proposed




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definitions. All of the proposed definitions relate to partisan outcomes and not

the Black population of those districts, which is what this Court required.

      As this Court has recognized, “redistricting and reapportioning

legislative bodies is a legislative task [which] the federal courts should make

every effort not to preempt.” Order, p. 509 (quoting Wise v. Lipscomb, 437 U.S.

535, 539 (1978)). Thus, even if this Court would have drawn districts

differently, it cannot substitute its judgment for that of the General Assembly

when the legislature has fully complied with this Court’s Order regarding the

creation and location of new majority-Black districts.

      At the end of the day, the remedial plans ensure that Black voters in

Georgia are more likely to be in a majority-Black district both statewide and

in the districts listed by the Court in its Order than they were previously. And

the remedial plans draw extensively on Plaintiffs’ illustrative plans in the

creation of the new majority-Black districts, in some cases including more than

80% of the exact geography proposed by Plaintiffs. This Court cannot reject the

remedial plan simply because it does not accommodate Plaintiffs’ political

goals. The Court should overrule Plaintiffs’ objections and allow the State of

Georgia to utilize its chosen district lines in the 2024 election cycle.




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                FACTS REGARDING REMEDIAL PLANS

I.    The 2023 special legislative session.

      On the same day the Court issued the Order enjoining the State from

using the entirety of the 2021 redistricting plans for Congress, state Senate,

and state House, Governor Brian Kemp issued a call for the legislature to

assemble in special session to consider updated district boundaries. That

special session began on November 29, 2023, and adjourned sine die on

December 7, 2023. Governor Kemp signed the updated district plans for

Congress (SB 3EX), state Senate (SB 1EX), and state House (HB 1EX) into law

on December 8, 2023, meeting the deadline set by this Court for the adoption

of remedial plans.

II.   The Congressional remedial plan (SB 3EX).

      A.    Drafting and adoption of plan.

      On December 1, 2023, Senate Reapportionment and Redistricting Chair

Sen. Shelly Echols released a draft Congressional plan. Dec. of Gina Wright,

(attached as Ex. A), ¶ 13. At a hearing on December 4 that also took public

comment on the draft, Sen. Echols explained the process she used to create the

plan. Tr. (Dec. 4, 2023) Senate Reapportionment and Redistricting Comm.

Hearing (attached as Ex. F) at 5:13–22. Working with Ms. Wright, Sen. Echols’

first step was to locate District 6 as a new majority-Black district in western

metro Atlanta, as required by the Court’s Order. Id. at 6:1–7:3, 8:12–9:5. That


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change led to the reconfiguration of nine districts using traditional

redistricting principles, including ensuring the partisan balance of the plan did

not change. Id. at 7:4–8:11.

      The changes to District 6 pushed adjoining districts to the east, with

District 13 moving substantially east and Districts 4 and 5 less so. Id. at 9:6–

11:12. In the process, those districts moved into the area formerly occupied by

District 7. Id. The General Assembly was careful to ensure that it added a new

majority-Black district, as this Court required, and in the location this Court

instructed. Id. at 11:13–23.

      Looking at north Georgia, District 14 shifted north in Cobb County and

District 11 took more of Cobb County along with Gordon County, while

maintaining the same boundary line in Cherokee County as previously. Id. at

11:24–12:14. District 7 then moved north to accommodate the shift of

population from the west side of metro Atlanta, up to a split of Hall County

that recognizes a community of interest around Lake Lanier on the Forsyth-

Hall border. Id. at 12:15–13:7. Districts 9 and 10 retained their prior character,

while making modest adjustments for Congressman Clyde’s home county and

maintaining county boundaries to assist election officials. Id. at 13:8–14:7.

During the entire drawing process, the General Assembly was constantly

balancing a number of considerations and was sensitive to ensure it did not

eliminate any existing minority opportunity districts. Id. at 14:8–16:14.


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      The Senate Committee approved the Congressional plan to send it to the

Senate floor on December 4, 2023, and it passed in a party-line vote on

December      5,     2023.    See    Status     History     of    SB      3EX,

https://www.legis.ga.gov/legislation/65853. The House took up the bill the

same day, ultimately passing it on the floor on December 7, 2023. Id.

      B.    Facts regarding Congressional remedial plan.

      The Congressional remedial plan increases the number of majority-

Black districts by one when using total AP Black population and by two when

using AP Black voting age population. Report of Dr. Michael Barber,2 attached

as Ex. B (Barber Report), § 2.2. The new majority-Black district is District 6,

which moves from 9.91% AP Black VAP to 51.75% AP Black VAP. Barber

Report, § 2.2, Table 1.

      District 6 contains more than 70% of the population that was included in

the Cooper Illustrative Congressional District 6, including more than 80% of

the Black voting age population that was included in that district. Barber

Report, § 2.4. The district is located in western metro Atlanta and includes

portions of Cobb, Douglas, and Fulton Counties. Wright Dec. ¶ 17. The General




2 To assist the Court in evaluating the remedial plans, Defendant retained a

new political-science expert, Dr. Michael Barber, to provide additional
information related to the remedial plans and their performance. Dr. Barber’s
CV is included with his report.

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Assembly relied on several of the communities of interest this Court relied on

when evaluating the area, including highways and healthcare systems. Ex. F

at 8:18–23. District 6 includes the entire cities of Fairburn, Union City, and

South Fulton up through the entirety of Powder Springs, Austell, and Smyrna.

Id. at 8:24–9:5; Wright Dec. ¶ 17.




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       The Congressional remedial plan increases the number of Black

individuals of voting age who live in majority-Black districts on a statewide

basis. Barber Report, § 2.3. On the 2021 Congressional plan, 27% of Black

individuals of voting age in Georgia lived in a majority-Black district. Id. On

the Congressional remedial plan, 46.4% of Black individuals of voting age in

Georgia now live in a majority-Black district. Id. Further, the 2023 remedial

plan includes nine majority-white Congressional districts, as this Court

indicated it would expect on a remedial plan. Order, p. 265 n.72.

       Using total AP Black Population, there is no question that the State

moved from four majority-Black Congressional districts (2, 4, 5, 13) to five

majority-Black Congressional districts on the Congressional remedial plan (2,

4, 5, 6, 13). Wright Dec. ¶ 18. This means that Black voters are now a majority

in either 35.7% (using total population) or 28.6% (using voting-age population)

of all Congressional districts in a state with a Black voting-age population of

31.73%. See Order, p. 265.

III.   The Senate remedial plan (SB 1EX).

       A.   Drafting and adoption of plan.

       When the Senate Reapportionment and Redistricting Committee

convened on the first day of the special session, Sen. Echols explained the

process of drawing the Senate plan, which involved heavy reliance on Gina

Wright. Tr. (Nov. 29, 2023) Senate Reapportionment and Redistricting Comm.


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Hearing (attached as Ex. C) at 2:25–4:8. Sen. Echols then outlined the process

for creating the two majority-Black districts in south metro Atlanta, including

meetings with Senators so she could understand the communities of interest

that were involved. Id. at 6:1–6. Vice-Chair Sen. Bo Hatchett explained the

various considerations that went into the drawing process, beginning with

compliance with this Court’s Order. Id. at 7:10–8:16.

      Sen. Echols then explained the changes that were made to the 15 Senate

districts that were modified to add Districts 17 and 28 as the new majority-

Black districts required by this Court. Id. at 8:17–9:21. Sen. Echols also

explained the process of taking into account traditional redistricting principles

and other considerations that went into the design of the plan. Id. at 9:22–

23:24. In that explanation, she detailed the various communities and other

factors considered for each of the 15 districts that were modified. Id. District

42, which was previously in DeKalb County, moved to the southeast and took

much of the territory that had been in the previous District 17, including areas

that shared strong connections and are rural in character. Id. at 16:18–17:9.

District 43 and 55 both moved north, while maintaining the community

connections that existed previously. Id. at 17:10–18:5. Districts 10 and 41

shifted to make room for the districts moving north out of Henry County after

the creation of District 17. Id. at 18:6–19. District 44 also shifted north to create




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room for new District 17, and ensures that the boundaries of the City of

Decatur are followed. Id. at 19:5–18.

      On the other side of metro Atlanta, the Senate plan does not make

changes to Districts 16, 34, and 36 because it was able to move other districts.

Id. at 19:19–20:8. District 39 kept most of its current configuration. Id. District

38 shifted north and east to accommodate the addition of District 28 in the

south, and now is wholly within Fulton County instead of including portions of

Cobb. Id. at 20:9–18. Districts 33 and 35 likewise shift north to make room for

District 28 in south Metro Atlanta, while still maintaining a strong number of

connections and communities and keeping Powder Springs whole in District

33. Id. at 20:19–21:15. After the creation of all of these districts, there was

significant population left in the areas around Coweta and Heard counties,

which became the new District 6. Id. at 21:16–19. The configuration of that

district avoided a split of Coweta County while also moving north into Carroll

County, recognizing a number of communities in that area. Id. at 21:19–22:7.

Small adjustments were made to District 30 to round out the population, while

recognizing the communities in that area. Id. at 22:8–22.

      The resulting Senate plan does not pair any incumbents of either

political party. Id. at 10:24–11:9.

      The Senate remedial plan was approved by the Senate committee on

November 30, 2023 before receiving approval of the Senate on December 1,


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2023 and the House on December 5, 2023. See Status History of SB 1EX,

https://www.legis.ga.gov/legislation/65851.

      B.    Facts regarding Senate remedial plan.

      The Senate remedial plan increases the total number of majority-Black

districts by two and decreases the total number of majority-white districts by

two. Barber Report, § 3.2. The new majority-Black districts are (1) District 17,

which moves from 32.01% AP Black VAP to 63.61% AP Black VAP and (2)

District 28, which moves from 19.51% AP Black VAP to 56.42% AP Black VAP.

Id. The plan increases the number of split counties by one. Wright Dec. ¶ 23.




Barber Report, p. 15.


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      District 17 contains nearly 80% of the total population that was included

in the Esselstyn Illustrative Senate District 25 and more than 40% of the total

population that was included in Cooper Illustrative Senate District 16. Barber

Report, § 3.5. This district includes portions of Henry and Clayton Counties,

which are both in south Metro Atlanta.3 Wright Dec. Ex. 2. District 17 was

designed to include most of Stockbridge and McDonough along with the

panhandle of Clayton County. Ex. C at 11:22–12:4.




      District 28 includes more than half of the population from Cooper

Illustrative Senate District 20 and more than half of the population from

Esselstyn Illustrative Senate District 35. Barber Report, § 3.2. Sen. Echols




3 The following maps are drawn from the Wright Dec. Ex. 2 and show only

changed districts in color.

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recognized that the different Plaintiff experts in the APA and Grant cases had

placed District 28 in two different south-Atlanta locations. Ex. C at 12:10–18.

Sen. Echols chose to anchor the district in South Fulton while minimizing

changes to some adjoining districts, with the resulting configuration ensuring

that Black voters in Fulton, Fayette, and Clayton Counties are all placed in

majority-Black districts. Id. at 12:19–13:1. The configuration of District 28 in

south metro Atlanta also connected suburbs that are experiencing growth and

assisted election officials by not making changes in some areas. Id. at 13:2–13.

Wright Dec. ¶ 20.




      The Senate remedial plan increases the number of Black individuals of

voting age who live in majority-Black districts. On the 2021 Senate plan, 49.7%

of Black individuals of voting age in Georgia lived in a majority-Black district.


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Barber Report, § 3.3. On the Senate remedial plan, 53.5%% of Black

individuals of voting age in Georgia now live in a majority-Black district. Id.

In looking at just the districts the Court identified as setting the area of Section

2 violations, the percentage of Black individuals of voting age living in a

majority-Black district also increases on the Senate remedial plan. Barber

Report, § 3.3.

IV.   The House remedial plan (HB 1EX).

      A.    Drafting and adoption of plan.

      When the House Reapportionment and Redistricting Committee

convened on the first day of the special session, Chairman Rep. Rob Leverett

explained the map he had created to the committee, beginning with the Order

of this Court. Tr. (Nov. 29, 2023) House of Representatives Reapportionment

and Redistricting Comm. Hearing (attached as Ex. D) at 18:22–19:17. After

explaining the design of each of the five new majority-Black districts, id. at

19:18–22:18, Rep. Leverett then explained the other changes that resulted

from adding those new districts, noting the “ripple effects” occurring in other

areas due to the creation of the majority-Black districts. Id. at 22:19–23:9. Rep.

Leverett created the plan with Ms. Wright and explained the other traditional

redistricting principles he followed in creating the plan, including input from

other House members of both political parties. Id. at 23:14–26:12. The

resulting plan changed 56 districts and paired four sets of incumbents, three


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sets of Democrats paired with other Democrats and one set of a Republican

paired with a Republican, along with drawing a Republican into a majority-

Democratic district. Id. at 24:12–25.

      Rep. Leverett then explained all of the various changes and interests

that went into the districts, beginning in Douglas County, going into Macon,

then up through south Metro Atlanta, with Ms. Wright also weighing in about

the process. Id. at 26:13–34:18. The ripple effect from the creation of District

64 pushed other districts north into Fulton and Cobb Counties, leading to the

collapse of District 40, which was a majority-white district in Cobb County. Id.

at 26:20–27:10. That led to the movement of District 40 to the western side of

the metro Area. Id. at 27:11–25.

      Similarly, changes in Macon also pushed other districts north, with some

movement in Houston County. Id. at 28:1–22. The plan eliminates a county

split in Jasper County, which was previously split. Id. at 29:1–5. District 135

shifts to pair two Republican incumbents, and other districts shift on the

eastern side to make room for some of the Henry County changes. Id. at 29:6–

19.

      In the metro area, District 82 moves from DeKalb down to south metro

and the other Henry and Clayton area districts shift north, and makes changes

at the request of Democratic Rep. Demetrius Douglas. Id. at 29:20–30:7.

Configuring Henry County and south DeKalb in the way the House did allows


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the plan to avoid making further changes to Clayton County to ease the

burdens on election officials in implementing the plan. Id. at 30:8–12.

      The ripple effects continue through Morgan and Newton, reaching back

into DeKalb and up into Gwinnett County. Id. at 30:19–31:12. Consistent with

the prior configuration of DeKalb County districts, the new configuration of

districts stripes from north to south, ensuring that almost all incumbents in

that area have a district in which to run. Id. at 31:7–32:4. When getting into

Gwinnett County, as Rep. Leverett explained, the “wave is starting to

dissipate,” with several changes to that area. Id. at 32:5–13.

      After fully explaining the changes and answering committee questions,

id. at 33:11–40:3, Rep. Leverett then held time for public comment on the

proposed plan. Id. at 40:4–16. The only other House redistricting plan

presented to the House committee, by Democratic Leader Rep. James Beverly,

only created four additional majority-Black districts instead of the five this

Court required. See Tr. (Nov. 30, 2023) House Reapportionment and

Redistricting Comm. Hearing (attached as Ex. E) at 26:18–29:19.

      The House plan was approved by the committee on November 30, 2023,

before going on to be approved by the House on December 1, 2023, and the

Senate   on   December     5,   2023.   See   Status   History   of   HB   1EX,

https://www.legis.ga.gov/legislation/65850.




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      B.    Facts regarding House remedial plan.

      The remedial state House plan increases the number of majority-Black

districts by five and decreases the number of majority-white districts by five.

Barber Report, § 4.2. The new majority-Black districts are (1) District 64 (west

Metro Atlanta), which goes from non-majority Black to 52.43% AP Black VAP;

(2) District 74 (south Metro Atlanta), which goes from non-majority Black to

66.0% AP Black VAP; (3) District 117 (south Metro Atlanta), which goes from

non-majority Black to 62.93% AP Black VAP; (4) District 145 (metro Macon),

which goes from non-majority Black to 50.30% AP Black VAP; and (5) District

149 (metro Macon) which goes from non-majority Black to 50.03% AP Black

VAP. Barber Report, § 4.2, Table 9. The House remedial plan decreases the

overall number of split counties in the state by one. Wright Dec. ¶ 30.




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Barber Report, p. 26.

     District 64 contains more than half of the total population that was

included in the Esselstyn Illustrative House District 61. Barber Report, §4.4.

This district configuration enabled the reduction of one district in Douglas




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County, splitting the county into three districts rather than four, so that

District 64 is located entirely in Douglas County.4 Wright Dec. ¶ 26.




      District 74 contains 80.8% of the population that was included in Cooper

Illustrative House District 74. Barber Report, § 4.5, Table 12. Rep. Leverett

consulted the Plaintiffs’ expert district for that configuration. Ex. D at 20:10–

17. This district is located in Clayton and Henry Counties, which are in south

Metro Atlanta. Wright Dec. ¶ 24.




4 The following maps are drawn from the Wright Dec. Ex. 3 and show only

changed districts in color.

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      District 117 includes nearly 70% of the population included in Esselstyn

Illustrative House District 117. Barber Report, § 4.5, Table 12. This was part

of the goal of Rep. Leverett, and the district includes almost all of McDonough

and portions of Locust Grove, using I-75 as a boundary line. Ex. D at 20:22–

21:8. This district is located wholly in Henry County, which is in south Metro

Atlanta. Wright Dec. ¶ 27.




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      Districts 145 and 149 include significant portions of the population

included in the Esselstyn versions of the Macon area. Barber Report, § 4.6,

Table 13. Rep. Leverett included the county seat of Forsyth County in District

145 and mostly utilized updated precincts in Macon, while protecting

incumbents. Ex. D at 21:9–22. District 149 had what Rep. Leverett called a

better configuration than Mr. Esselstyn’s version, using a highway in Jones

County instead of Twiggs and Wilkinson Counties to connect Macon and

Milledgeville, and avoiding changing the existing split of Baldwin County. Id.

at 21:23–22:13. The addition of those districts means that there are now four

majority-Black districts that are anchored in the Macon area, Districts 142,

143, 145, and 149. Barber Report, § 4.2, Table 9.




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      The House remedial plan increases the number of Black individuals of

voting age who live in majority-Black districts. On the 2021 House plan, 53.5%

of Black individuals of voting age in Georgia lived in a majority-Black district.

Barber Report, § 4.3. On the House remedial plan, 56.6%% of Black individuals

of voting age in Georgia now live in a majority-Black district. Id. In looking at

just the districts the Court identified as setting the area of Section 2 violations,

the percentage of Black individuals of voting age living in a majority-Black

district goes from 53.7% to 74.3% on the House remedial plan. Id.

V.    Implementation of the remedial plans.

      In their committee presentations, the chairs of redistricting committees

in both chambers emphasized the importance of ease of implementation of the

new remedial plans. Ex. C at 14:18–23; Ex. D at 24:1–4, 25:20–24. Ms. Wright’s

office prepares the maps for county election officials to utilize in reassigning

voters after each change in district boundaries. Wright Dec. ¶¶ 31–32. Across

all three plans, the total number of counties that are required to make changes

to district boundaries as a result of the remedial plans is 20 out of 159 or only

about 12.6% of the counties in Georgia. Wright Dec. ¶ 33. Minimizing the

number of counties that have to make changes is a benefit to the county

election officials who have to implement the new plans. Wright Dec. ¶ 34.

      Further, when creating the remedial plans, Ms. Wright utilized updated

precincts where those were available from counties. Wright Dec. ¶¶ 36–40.


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Because counties change precinct boundaries frequently, the number of split

Census VTDs does not indicate whether the plan can be easily administered or

not, but Ms. Wright relied on updated precinct boundaries, not Census VTDs,

when creating districts for the remedial plans. Id.

                 STANDARD ON REVIEW OF REMEDY

      “[A] district court’s remedial proceedings bear directly on and are

inextricably bound up in its liability findings.” Wright v. Sumter Cty. Bd. of

Elections & Registration, 979 F.3d 1282, 1302-03 (11th Cir. 2020). And “any

proposal to remedy a Section 2 violation must itself conform with Section 2.”

United States v. Dallas Cty. Comm’n, 850 F.2d 1433, 1437-38 (11th Cir. 1988)

(quoting Dillard v. Crenshaw Cty., 831 F.2d 246, 249 (11th Cir. 1987)). Thus,

the inquiry for this Court in this case is whether the proposed remedial plan

“completely remedies the prior dilution of [Black] voting strength and fully

provides equal opportunity for [Black] citizens to participate and to elect

candidates of their choice.” Dallas Cty. Comm’n, 850 F.2d at 1442 (emphasis in

original).

      As this Court explained, that means the Court must evaluate the

remedial plans to determine if they include “an additional majority-Black

congressional district in west-metro Atlanta; two additional majority-Black

Senate districts in south-metro Atlanta; two additional majority-Black House

districts in south-metro Atlanta, one additional majority-Black House district


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in west-metro Atlanta, and two additional majority-Black House districts in

and around Macon-Bibb” without eliminating any existing minority

opportunity districts. Order, pp. 509–11. If the plans do this—and otherwise

comply with Section 2 and applicable law—then that is the end of the inquiry.

      This Court already explained that it would utilize the Gingles standard

to determine whether the remedial plans “provide[] Black voters with an

additional opportunity district.” Order, p. 511. Each district plan passed by the

General Assembly provides exactly the districts this Court required to provide

additional opportunities for Black voters.5 And “States retain broad discretion

in drawing districts to comply with the mandate of § 2.” Shaw v. Hunt, 517




5 In case there is any question, the relevant minority group in this case is Black

voters. Order, p. 9 (“the Court determines that in certain areas of the State,
the political process is not equally open to Black voters.”); see also id. at 96, 107
(APA Cooper legislative plans involved majority-Black districts); 115 (Grant
Esselstyn only considered Black population); 142 (Palmer only evaluated Black
and white voter cohesion, not other minority groups); 149 (Handley only
evaluated Black and white voter cohesion, not other minority groups); 201
(Pendergrass reference to minority community was to Black voters); 209, 211
(question in Pendergrass case was equal openness of process as to “affected
Black voters”); 242 (electoral structure was found to affect Black voters); 272-
273 (findings as to Black voters); 274 (question in APA and Grant cases was
equal openness of process to Black voters); 405-406 (findings regarding Black
community in context of Section 2 violation); 426-427 (question in APA and
Grant cases was equal openness of process as to “affected Black voters”); 510
(injury was to “Plaintiffs and other Black voters in Georgia”); 511 (remedy will
be assessed to determine “whether it provides Black voters with an additional
opportunity district”).

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U.S. 899, 917 n.9 (1996) (citing Voinovich v. Quilter, 507 U.S. 146, 156–157

(1993); Growe v. Emison, 507 U.S. 25, 32–37 (1993)).

              RESPONSES TO PLAINTIFFS’ OBJECTIONS

      While each Plaintiff group filed its own objections, this Court directed

Defendant to file a single response brief of up to 75 pages. [APA Doc. 348, p. 2];

[Grant Doc. 309, p. 2]; [Pendergrass Doc. 309, p. 2]. Because many of the

objections overlap, this brief considers all the various objections raised by the

Plaintiff groups.

I.    The General Assembly is not limited to the districts listed in the
      Court’s  Order    when       creating    a     remedial       plan
      (APA/Grant/Pendergrass).

      Plaintiffs selected the districts the Court identified as part of the regions

in which it found Section 2 violations. See Order, pp. 512–13, nn.138, 139.

Plaintiffs now take the novel view that this Court imposed limits on what the

General Assembly could redraw when it delineated the relevant area the

Plaintiffs now designate as the “vote dilution area.” Plaintiffs do not cite any

authority for the proposition that legislative remedies are limited to a “vote

dilution area,” and Defendant was unable to find any case that uses that term

in this context. And it makes sense that such a limitation cannot exist, because

of the federalism concerns this Court earlier identified limiting the Court’s

authority to interfere in legislative decision-making.




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      This Court enjoined the entirety of the plans at issue and directed the

General Assembly to adopt “a substitute measure” that complies with the

Court’s Order. Order, p. 509 (quoting Wise, 437 U.S. at 540). As discussed

below, this Court did not affirmatively limit the General Assembly’s process

for creating remedial plans and could not do so.

      A.    Unlike racial gerrymandering cases, Section 2 claims
            involve regions, and the legislature drew the new districts
            precisely where this Court required them to be drawn.

      To have a claim under Section 2 regarding districts, plaintiffs must only

live in a region that could support an additional majority-minority voting

district because the harm is vote dilution, not necessarily the boundaries of

individual districts. Thompson v. Kemp, 309 F. Supp. 3d 1360, 1365 (N.D. Ga.

2018) (three-judge court). That is different from a racial gerrymandering claim,

where the individuals have to live in the challenged districts—because they

are challenging the configuration of those specific district boundaries. United

States v. Hays, 515 U.S. 737, 745 (1995); accord Dillard v. Baldwin Cty.

Comm’rs, 225 F.3d 1271, 1279 (11th Cir. 2000).

      That is why this Court’s Order did not find the particular district

boundaries it listed violated Section 2. The Order explained that a lack of equal

openness existed in certain areas of the state and proceeded to describe those

areas through the identification of districts contained in Plaintiffs’ complaints.

Order, pp. 512–13. It is Plaintiffs who artfully reinterpret the Court’s Order as


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requiring something different. The Court did not mandate the General

Assembly redraw every district in those defined areas. The Court did not limit

the General Assembly to only redrawing districts in those areas. It gave

specific instructions on what the General Assembly needed to do to remedy the

vote dilution the Court found in those areas—draw the additional majority-

Black districts in the defined regions, not redraw every district in the list of

districts. Order, p. 509.

            1.     The new majority-Black districts are not drawn
                   “somewhere else in the State.”

      Even if the State was not limited to the specific districts, Plaintiffs still

complain that new majority-Black districts are located “somewhere else in the

State.” See, e.g., [APA Doc. 354, p.12] (quoting Shaw, 517 U.S. at 917). But this

charge makes no sense when viewed in light of the facts of Shaw and the

districts actually drawn by the General Assembly.

      Plaintiffs are correct that a Section 2 violation cannot be remedied by

creating a new majority-Black district “somewhere else in the state,” Shaw,

517 U.S. at 917, but that fact leaves open the question of what exactly

constitutes “somewhere else in the state.” Without pointing to any authority in

support, Plaintiffs urge this Court to adopt a standard that states must draw

remedial districts precisely and only in the districts specified by the Court in

the liability phase of the proceedings, and that they must not venture anywhere



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outside those areas. [APA Doc. 354, p. 12]; [Grant Doc. 317, pp. 9–15];

[Pendergrass Doc. 317, pp. 8–10]. But there is no support for such a narrow

interpretation of the State’s remedial authority under Section 2 in either this

Court’s Order or in precedent.

      First, this Court identified the injury and the remedy in two distinct

parts of the Order. The Court found the area of injury to encompass a list of

districts that defined an area. Order, p. 514. But immediately preceding that

list, the Court articulated what the State must do to remedy the injury found

in these areas: for each map, draw a remedial plan that created new districts

in particular regional locations.6 Id. at 509. Separating the identified area of

injury from the broader region in which to locate the remedial districts makes

sense given the federalism concerns in voting rights cases, as this Court

recognized: “The Court is conscious of the powerful concerns for comity

involved in interfering with the State’s legislative responsibilities. As the

Supreme Court has repeatedly recognized, ‘redistricting and reapportioning




6 Members of the General Assembly expressed gratitude for the specificity of

what the General Assembly needed to do to comply with the Court’s order. See
Ex. D, 19:5–12 (Rep. Leverett); Tr. (Dec. 1, 2023) House Floor Debate (attached
as Ex. H) at 4:4–5:2; Tr. (Dec. 1, 2023) Senate Floor Debate (attached as Ex. G)
21:21–22:21 (Sen. Watson), 145:4–148:15 (Sen. Kennedy); Tr. (Dec. 7, 2023)
House Floor Debate (attached as Ex. I) at 71:11–72:4 (Rep. Leverett).

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legislative bodies is a legislative task [which] the federal courts should make

every effort not to preempt.’” Order, p. 509 (quoting Wise, 437 U.S. at 539).

      To that end, when vote dilution is found, that “does not mean that a § 2

plaintiff has the right to be placed in a majority-[Black] district once a violation

of the statute is shown. States retain broad discretion in drawing districts to

comply with the mandate of § 2.” Shaw, 517 U.S. at 917 n.9 (emphasis added).7

      Thus, while the Court found an injury in specific “districts/areas” of the

state, it couched the location of the remedial districts in broader terms. The

Court properly declined to go so far as to limit the State to crafting a remedial

district wholly within particular regions. Rather, the Court stated that the

districts must be more broadly in particular regions, for example, the South

Metro Atlanta area. That is exactly what the General Assembly did in the

remedial plans, and nothing in the cases relied on by Plaintiffs suggests this

Court should find otherwise.

      In Shaw, which Plaintiffs quote extensively, the Department of Justice

declined to preclear a redistricting map under Section 5 because it failed to

give effect to minority voting strength in the south-central to southeastern

portions of North Carolina, in violation of the VRA. North Carolina responded,




7 This binding precedent from the Supreme Court ends APA Plaintiffs’
complaints about Mr. Woods being left out of a majority-Black district on the
remedial plans. [APA Doc. 354, p. 17].

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in part, by drawing a new majority-Black District 12, which “spans the

Piedmont Crescent” of the state. 517 U.S. at 917. More specifically, the district

was anchored in the north central part of the state and emanated outward to

the west and finally settled in the southwestern portion of the state:




In other words, the district at issue in that case never even touched the area

identified as having the voting-rights violation. In fact, it quite studiously

avoided it. For this reason, the Shaw court found the “black voters of the south-

central to southeastern region would still be suffering precisely the same injury

that they suffered before District 12 was drawn.” Id. The remedial plans before

the Court here could scarcely be more distinguishable.




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            2.    The new majority-Black districts are all in the areas
                  defined by the Court.

      Even if Plaintiffs are correct and the legislature was limited to the

enumerated districts for drawing new majority-Black districts, the evidence

before the Court demonstrates that the new districts are drawn primarily

within the areas and districts identified by the Court. Barber Report, §§ 3.4,

4.4–4.6. Unlike the situation in Shaw, each district includes significant areas

from the districts identified by the Court in its ordering paragraphs. That is

true of the Senate plan:




Barber Report, p. 19.



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That is also true of the various House districts—and visual inspection

demonstrates that the lack of overlap is primarily the result of Plaintiffs not

including existing majority-Black districts in their list of districts in their

Complaints, when those districts would certainly have to be modified in any

plan—and were modified by Plaintiffs in their illustrative plans. For example,

the “hole” around District 64 where Plaintiffs claim the General Assembly

went outside of the defined area is where existing majority Black districts were

located, when obviously those districts would be reconfigured when creating

new majority-Black districts:




Barber Report, p. 32.



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Further, Mr. Cooper made a similar change in his new proposed remedial plan

in the same area, which actually includes even fewer Black voters from the

specified districts as a percentage than the enacted remedial plan:




Barber Report, p. 32.

      The south metro and Macon areas show the same reality—the new

districts are drawn in the areas the Court identified:




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Barber Report, p. 34.




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Barber Report, p. 37.

      Plaintiffs’ claims that the vote dilution the Court found is not remedied

cannot withstand scrutiny because the General Assembly added the new

majority-Black districts in the areas specified.




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      If Plaintiffs’ approach is correct, holding a special session of the General

Assembly was little more than a box-checking exercise to get to a court-drawn

plan. But Plaintiffs ignore binding precedent: the General Assembly, as a

political branch, is permitted to and did take far more into account than this

Court when drawing districts. Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018).

      B.    The General Assembly must take more into account than
            the Court or Plaintiffs’ experts when creating remedial
            plans.

      As this Court already recognized, “redistricting and reapportioning

legislative bodies is a legislative task [which] the federal courts should make

every effort not to preempt.” Order, p. 509 (quoting Wise, 437 U.S. at 539).

When assessing a district plan, this Court must recognize “the complex

interplay of forces that enter a legislature’s redistricting calculus.” Abbott, 138

S. Ct. at 2324 (quoting Miller v. Johnson, 515 U.S. 900, 915-16 (1995)). The

legislature’s adopted remedial plans not only comply with the Court’s Order,

but also reflect “a variety of political judgments about the dynamics of an

overall electoral process that rightly pertain to the legislative prerogative of

the state and its subdivisions.” McGhee v. Granville Cty., 860 F.2d 110, 115

(4th Cir. 1988).




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      Thus, despite Plaintiffs’ hyperbole about the remedial plans,8 this Court

must presume the good faith of the legislature when evaluating the remedial

plans. Abbott, 138 S. Ct. at 2324-25. And “[p]rinciples of federalism and

common sense mandate deference to a plan which has been legislatively

enacted.” Tallahassee Branch of NAACP v. Leon Cty., 827 F.2d 1436, 1438

(11th Cir. 1987).

            1.      Plaintiffs insisted repeatedly that illustrative plans
                    were only illustrative, but now say they are mandatory.

      APA Plaintiffs’ position at trial was that their illustrative plans were, as

labeled, merely illustrative and that the legislature would have the

opportunity to draft its own plans in case of a violation. See, e.g., Trial Tr. at

235:8–237:9. But now that the General Assembly has undertaken that task,

all Plaintiffs have abruptly changed course and essentially argue that their

illustrative plans are mandatory, because individuals who were included in a

majority-Black district on their illustrative plan are not included in a majority-

Black district on the remedial plans. [Pendergrass Doc. 317, p. 8-9]; [APA Doc.




8  Plaintiffs repeatedly claim the legislature “defied” this Court’s order;
Pendergrass Plaintiffs refer to the legislature’s actions as “reprehensible,”
[Pendergrass Doc. 317, p. 23]; and Plaintiffs accuse Georgia of acting like
Alabama. Rep. Leverett remarked that the accusation that Georgia was acting
like Alabama “is really a low blow” when a similar charge was made in the
legislative debate because his “goal this whole session has been to – to do just
not what they did, to do everything the opposite from what they did.” Ex. I at
67:12–68:3.

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354, p. 21]; [Grant Doc. 317, p. 9]. But that is not the law and not what the

Court ordered.

      Again, a Section 2 claim is based on a region where vote dilution is

occurring, not a right of every single Black individual to be placed into a

majority-Black district. Shaw, 517 U.S. at 917 n.9. Adopting an interpretation

of Section 2 that requires every Black voter in a region to be placed into a

majority-Black district is constitutionally suspect and not at all required by

Section 2. Indeed, courts expect some members of challenged minority groups

to be left outside majority-minority districts on remedial plans. See Shaw, 517

U.S. at 917 n.9; McGhee, 860 F.2d at 118–119 (collecting cases).

      Further, Plaintiffs complain about changes made to other districts after

the legislature added the required majority-Black districts. But at trial, APA

Plaintiffs objected when Defendant attempted to cross-examine their experts

on changes made to other districts on the illustrative plans. Trial Tr. 234:12–

235:6; 270:19–271:21; 274:4–14; 275:23–276:13. While earlier objecting to the

level of scrutiny of their illustrative plans, Plaintiffs now seek to apply a new

standard to the remedial plans. But, as discussed above, the changes made to

other districts was thoughtful and part of the General Assembly’s entire

process for considering the new plans.




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              2.   The General Assembly may take partisanship into
                   account in its remedial plans.

      Contrary to APA Plaintiffs’ arguments, the General Assembly is free to

take partisanship into account when drawing a remedial plan. This Court

already found the legislature had partisan motives in the creation of the 2021

plans, and the chairs clearly indicated they considered election returns and

other partisan data as part of the creation of the remedial plans, while

ensuring they were complying with the Court’s Order. Order, pp. 260–62, 475–

77, 489–91.

      The entire point of the legislature having the first opportunity to draw a

remedial plan is because it considers more factors as a political branch than a

Court can. Tallahassee Branch of NAACP, 827 F.2d at 1438. The cases APA

Plaintiffs cite offer nothing to rebut that reality. League of United Latin

American Citizens v. Perry, 457 F. Supp. 2d 716, 721 (E.D. Tex. 2006), involved

a court-drawn plan, not review of a legislatively enacted plan. League of United

Latin American Citizens v. Perry, 548 U.S. 399, 440-41 (2006), specifically

recognizes that incumbent protection can be a legitimate factor in redistricting

and did not involve a remedial plan. Thus, while Plaintiffs continue to cite

cases about court-drawn remedial plans, they fail to recognize that relevant

precedent and basic federalism concerns permit the legislature to take a




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variety of factors into account, which the evidence shows the General Assembly

did in this case.

             3.     The legislature is under no obligation to adopt
                    Plaintiffs’ plans.

      This may be self-evident, but Plaintiffs and this Court cannot require the

General Assembly to accept the Plaintiffs’ plans. This Court recognized this

when it ruled that the General Assembly “has an illustrative remedial plan to

consult” in its Order. Order, p. 515 (emphasis added). Nothing required the

legislature to adopt those plans.

      Plaintiffs attempt to lock in certain districts by claiming that the

legislature could not alter those districts, for example in Douglas County.

[Grant Doc. 317, pp. 10-11]. But they can only claim that the population of

particular new majority-Black districts lives “outside of the vote-dilution area”

because they removed districts that were already majority-Black from their

defined list of districts in their Complaints. For example, looking at House

District 64 shows that Plaintiffs claim a significant amount of population from

outside the list of districts they created, but only because they artificially

excluded most of the population of Douglas County—population that must

change in the creation of the district, as Mr. Cooper did when creating another

proposed remedial district in the same area. Id.; Barber Report §§ 4.4, 4.5.




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      Further, the facts demonstrate that the legislature did consult the

illustrative plans. In fact, each new majority-Black district utilizes significant

population from the Plaintiffs’ illustrative plans while also accounting for other

traditional redistricting principles:

                                        % Total Pop in      % Total BVAP in
 Remedial         Illustrative
                                        Remedial from        Remedial from
  District          District
                                         Illustrative         Illustrative
   CD-6          Cooper CD-6                 72.5%                80.8%
  SD-17         Esselstyn SD-25              78.6%                76.6%
  SD-28         Esselstyn SD-35              52.6%                55.8%
  HD-64        Esselstyn HD-61               54.7%                52.2%
  HD-74          Cooper HD-74                80.8%                81.8%
  HD-117       Esselstyn HD-117              69.2%                70.2%
  HD-145       Esselstyn HD-142              57.8%                59.1%
  HD-149       Esselstyn HD-149              57.2%                64.3%

Data from Barber Report, §§ 2.4, 3.5, 4.4, 4.5, 4.6.

      The General Assembly was aware of the particular districts this Court

relied on in its Order, and Ms. Wright loaded Plaintiffs’ illustrative districts

into her mapping software as she prepared to draw the plans to review them.

Wright Dec. ¶ 11. Again, the General Assembly complied with this Court’s

Order.

      C.    The remedial plans solve the violations the Court found
            because they add the required districts in the regions
            identified by the Court.

      Plaintiffs do not seriously contest whether the new majority-Black

districts were drawn because they cannot. Grant Plaintiffs’ experts Dr. Palmer

and Mr. Esselstyn even agree that the Senate remedial plan includes two


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additional performing majority-Black districts and that the House remedial

plan includes five additional performing majority-Black districts. [Grant Doc.

317-1, ¶¶ 11, 31]; [Grant Doc. 317-2, pp. 2–3].

      The remedial Congressional plan goes from two AP Black VAP majority

districts to four. Barber Report, § 2.2. The remedial state Senate plan goes from

14 AP Black VAP majority districts to 16 (28.6% of the 56 Senate districts).

Barber Report, § 3.2. The remedial state House plan goes from 49 AP Black

VAP majority districts to 54 (30% of the 180 House districts). Barber Report, §

4.2. And the legislative plans both reduce the number of majority-white

districts by the same amount and do not eliminate any existing majority-Black

districts. Beyond complaining that the districts are not drawn within their list

of districts,9 Plaintiffs do not contest that the new majority-Black districts are

drawn where they are supposed to be drawn. That is sufficient to end the

analysis. Unhappy with that result, Plaintiffs next propose a variety of

additional possible ways to measure compliance, none of which apply here.




9 Plaintiffs’ own remedial and illustrative plans also make changes outside of

the “vote dilution area” as they call it, with the clearest example being Mr.
Cooper’s remedial plans, which change significant areas outside of the list of
districts. Barber Report, §§ 4.4, 4.5.

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            1.    The correct calculation is not the “net” amount of
                  Black voters that moved because the Court did not
                  order that as a remedy.

      APA Plaintiffs propose a system of how many Black voters moved in and

out of majority-Black districts as the method to measure compliance. [APA

Doc. 354, pp. 18–19]. But this is not what the Court required. The mission for

the General Assembly was not to ensure that every Black voter who was not

previously in a majority-Black district would be moved into such a district. The

mission was to draw the majority-Black districts this Court required in its

Order.

      And the result of that drawing means that more Black individuals of

voting age will now be included in majority-Black districts. Barber Report, §§

2.3, 3.3, 4.3. While complaining that there was a reshuffling of Black voters

from existing majority-Black districts, Plaintiffs ignore the fact that their own

illustrative plans also moved Black voters from existing majority-Black

districts into new majority-Black districts—indeed, Plaintiffs’ whole theory

throughout this litigation was that the General Assembly had improperly

grouped Black voters together, when they should have been separated to create

additional majority-Black districts.

      Thus, Plaintiffs’ claims of a “shell game” are actually an indictment of

their own approach. Having persuaded this Court that new majority-Black

districts were required, they now propose to move the goalposts to require that


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particular Black voters must be moved into and out of districts to ensure a

political outcome. That is not what the Voting Rights Act nor this Court

requires.

            2.    The General Assembly moved existing districts north,
                  while Plaintiffs moved existing districts south.

      Plaintiffs recognize that the legislature shifted districts north instead of

south once the new majority-Black districts were added. [APA Doc. 354, p. 19].

That is exactly what the chairs explained happened in the metro Atlanta area,

which resulted in the collapse of majority-white districts north of the new

majority-Black districts. See Ex. C at 9:6–14, 16:18–25, 18:6–17; Ex. D. at 23:2–

4, 29:24–30:12. This is logical because adding new majority-Black districts on

a plan requires eliminating districts somewhere else. Plaintiffs criticize this

approach for an obvious reason—the majority-white districts that were

eliminated were electing Democratic candidates.

      Plaintiffs also relied extensively at trial on the increase in Black voters

in Georgia and in metro Atlanta, but now again switch their arguments and

claim that only Black voters in certain areas can be considered to be moved

into majority-Black districts in the remedial plan. See, e.g., [APA Doc. 354, p.

19]; [Grant Doc. 317, p. 14]; [Pendergrass Doc. 317, pp. 8–9]. Again, the

General Assembly’s charge was to draw new majority-Black districts, which




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necessarily requires including Black voters, including those who were not

previously in majority-Black districts.

      At the end of the day, the remedial plans ensure that Black voters in

Georgia are more likely to be in a majority-Black district both statewide and

in the districts listed by the Court in its Order than they were previously.

            3.    Plaintiffs offer no plan that complies with the General
                  Assembly’s policy goals on the enacted plans while also
                  drawing any additional majority-Black districts.

      While APA Plaintiffs offer brand-new remedial plans, no Plaintiff group

offers any plan that starts with the legislature’s policy decisions and goals,

including its partisan goals, and then draws the additional majority-Black

districts. Rather, all of Plaintiffs’ proposed plans eliminate Republican

districts, which is inconsistent with the General Assembly’s legitimate

partisan goals. Thus, there is no basis for this Court to consider plans that lack

the necessary deference to legislative bodies. Tallahassee Branch of the

NAACP, 827 F.2d at 1438.

            4.    APA Plaintiffs claim some districts are packed when
                  they are within the same thresholds of districts on the
                  2021 plans that were not challenged.

      APA Plaintiffs also claim that some House districts become “packed” on

the remedial House plan. [APA Doc. 354, p. 25]. But the BVAP percentages for

all the districts on the remedial plan are within the same range as the districts

on the 2021 plan, including districts that were not challenged. Barber Report,


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§ 4.2, Table 9. Thus, even if this Court had found packing in particular places,

the districts are still within the acceptable range from the 2021 House plan.

      D.    This Court should not engage in a “beauty contest” with
            any other plans offered by Plaintiffs.

      Finally, Plaintiffs question the General Assembly’s decision-making by

proposing a “beauty contest” of the remedial plans versus their plans, claiming

the General Assembly could have moved fewer voters or changed compactness

scores in ways they prefer. [APA Doc. 354, p. 21]; [Grant Doc. 317, pp. 18-20].

            1.    Comparisons to brand-new illustrative plans are
                  inappropriate at this stage (APA).

      First, the APA Plaintiffs cite no authority for the submission of new

plans from Mr. Cooper as alternatives to the 2023 plans, and it is improper for

this Court to consider these plans as part of Plaintiffs’ objections. The issue

before the Court now is whether the remedial plans comply with the Court’s

Order. Only if the Court finds that one or more of the 2023 plans does not

comply should there be consideration of alternative plans, whether from a

Special Master or otherwise. As long as the 2023 plans comply with the Court’s

Order by remedying the Section 2 violations the Court found, it does not matter

that Mr. Cooper has created allegedly “better” plans. Cf. Singleton v. Allen, No.

2:21-cv-1291-AMM, 2023 U.S. Dist. LEXIS 155998, at *99 (N.D. Ala. Sept. 5,

2023) (no basis for “beauty contest” between valid plans).




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      At the liability stage of the APA case, Mr. Cooper produced illustrative

plans, was deposed on them, and was examined on them extensively at trial.

Plaintiffs should not be allowed to submit new plans for Mr. Cooper as

alternatives to the 2023 plans, because (in fairness to Defendant) this would

require essentially a second trial as to the lawfulness of Mr. Cooper’s new plans

and risk the exact “infinity loop” that the three-judge court in Singleton sought

to avoid, see Singleton, 2023 U.S. Dist. LEXIS 155998, at *152, as well as

causing further delay in the implementation of new maps when time is of the

essence.

      While Plaintiffs may believe certain changes were “unnecessary,” that

does not automatically mean the General Assembly’s decision-making violates

the Constitution or the VRA. And that is the only standard that matters—not

whether Plaintiffs would have drawn districts differently if they were a

majority of the General Assembly. McGhee, 860 F.2d at 115.

            2.     Comparisons to illustrative plans are inappropriate
                   at this stage (APA/Grant/Pendergrass).

      Further, this Court should not compare the remedial plans to the

illustrative plans on other metrics because of the General Assembly’s wide

latitude for complying with this Court’s Order. To be clear, the Court is not

required to conduct a “beauty contest” between the 2023 remedial plans and

Plaintiffs’ illustrative plans. See Allen v. Milligan, 143 S. Ct. 1487, 1505 (2023).



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      “When evaluating a defendant’s proposal, a court is not to inquire

whether the defendants have proposed the very best available remedy, or even

whether the defendants have proposed an appealing one.” United States v.

Euclid City Sch. Bd., 632 F. Supp. 2d 740, 750 (N.D. Ohio 2009). The Court’s

“analysis in the first instance” is limited to whether the remedial plans correct

the Section 2 violation that the Court previously found. If the remedial plans

correct that violation, then the Court may consider any claims by Plaintiffs

that the remedial plans “violate[] federal law anew.” Singleton, 2023 U.S. Dist.

LEXIS 155998, at *140. That is why comparisons to compactness scores or

other metrics are inappropriate at this stage—the only question is whether the

remedial plans comply with this Court’s Order and other binding precedent.

II.   The remedial plans do not eliminate existing                    minority
      opportunity districts (APA/Grant/Pendergrass).

      Faced with the reality that the remedial plans retain all existing

majority-Black districts from the 2021 plans and add the required majority-

Black districts where the Court directed, Plaintiffs spend most of their

objection briefs alleging that the State failed to comply with another part of

this Court’s instructions—the requirement not to eliminate any existing

minority opportunity districts. But the General Assembly also fully complied

with this portion of the Court’s Order.




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      A.      The remedial plans increase the number of majority-Black
              districts and do not eliminate any existing majority-Black
              districts (APA/Grant/Pendergrass).

      As shown by Dr. Barber’s report, the remedial plans increase the number

of majority-Black districts and do not eliminate any existing majority-Black

districts elsewhere in the plans. Barber Report, §§ 2.2, 3.2, 4.2. Instead, in the

legislative plans there is a corresponding decrease in majority-white districts

and in the Congressional plan, there is a decrease in non-majority-Black

districts. Significantly, the legislative plans do not eliminate any district where

minority voters constituted a majority of the voting-age population.

      Despite Grant Plaintiffs’ attempts to re-imagine this Court’s instructions

[Grant Doc. 317, p. 15], this Court did not give the same instruction as the

Singleton court. Instead, this Court clearly required additional majority-Black

districts, which the General Assembly has created. Thus, under the definition

of minority opportunity district that is most logical based on this Court’s ruling

and discussion of opportunity districts in this case, see, e.g., Order, pp. 106,

145–46, 211, 268, 417–20, 427, and 511, no existing minority opportunity

districts—that is, no majority-Black districts—were eliminated in any of the

remedial plans. That should end the analysis of the legislature’s compliance on

that point.

      Further, the legislative plans have the same number of districts that are

majority-minority, but not majority-Black, as the 2021 enacted plans. Barber


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Report, §§ 3.2, 4.2. This means the change in the legislative plans is a reduction

in the number of majority-white districts. And none of the remedial plans

decrease the number of majority-Black districts. All of them increase that

number.

      But that is not enough for all Plaintiffs and Amici except for the APA

Plaintiffs. Instead, they propose at least three different definitions of “minority

opportunity districts,” none of which are appropriate under Section 2, any

binding cases, or the facts of these cases.

      B.    Crossover districts are not required by Section 2 or binding
            precedent (Grant).

      Grant Plaintiffs argue that the proper definition of “minority opportunity

district” is a crossover district, where white voters and Black voters vote for

the same candidates. [Grant Doc. 317, p. 16]. They then propose that a series

of five districts, four of which were majority-white, are protected by the VRA

because they were previously electing Democratic candidates but now will elect

Republican candidates. Id. at 16–17. Not only is the dismantling of majority-

white districts something to be expected when this Court ordered the creation

of new majority-Black districts, but Plaintiffs’ arguments about crossover

districts are not supported by any legal theory.

      Plaintiffs admit, as the Supreme Court explained in Bartlett v.

Strickland, 556 U.S. 1 (2009) (plurality op.), that “as a statutory matter, § 2



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does not mandate creating or preserving crossover districts.” Id. at 23. This is

because crossover districts cannot satisfy the majority-minority rule required

under the first Gingles precondition:

      Minority groups in crossover districts cannot form a voting
      majority without crossover voters. In those districts minority
      voters have the same opportunity to elect their candidate as any
      other political group with the same relative voting strength.

Id. at 20. If this Court concludes, as Plaintiffs request, that majority-white

districts are somehow protected by Section 2 or that the General Assembly

could not dismantle them as part of compliance with the Court’s Order, it

would guarantee Black voters an electoral advantage which is neither a

“wrong” under the Voting Rights Act nor a valid remedy. Id. at 15.

      Crossover districts are also not protected by the VRA because it would

be “difficult to see how the majority-bloc-voting requirement” of the third

Gingles precondition would be satisfied “where, by definition, white voters join

in sufficient numbers with minority voters to elect the minority’s preferred

candidate.” Id. at 16. Yet this is precisely what the Grant Plaintiffs ask this

Court to do when they ask this Court to consider crossover districts to be

“minority opportunity districts.” [Grant Doc. 317, p. 17]. They seek to insulate




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these districts solely based on the fact that they currently elect Democratic

members to the General Assembly.10

      If crossover districts are not required or protected under federal law, as

Plaintiffs concede, then this Court cannot order their creation or preservation

even if it is attached to some other relief ordered pursuant to a demonstrated

Section 2 violation. “Federal courts are barred from intervening in state

apportionment in the absence of a violation of federal law precisely because it

is the domain of the States, and not the federal courts, to conduct

apportionment in the first place.” Voinovich, 507 U.S. at 156. That means this

Court cannot order the State to protect a district for which federal law does not

otherwise mandate protection. “[T]he federal courts are bound to respect the

States’ apportionment choice unless those choices contravene federal

requirements.” Id. at 156–57.

      In the end, “[n]othing in § 2 grants special protection to a minority

group’s right to form political coalitions.” Bartlett, 556 U.S. at 15. This is

because Section 2 is not a guarantee of political success—“minority voters are

not immune from the obligation to pull, haul, and trade to find common




10 Indeed, as discussed below, interpreting the VRA to protect political parties

rather than membership in a minority group is an unconstitutional
interpretation of the VRA because it means it is no longer congruent and
proportional to address equal political opportunity for Black voters. See City of
Boerne v. Flores, 521 U.S. 507, 518 (1997).

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political ground.” Johnson v. De Grandy, 512 U.S. 997, 1020 (1994). If this

Court finds that crossover districts are “minority opportunity districts,” then

it is requiring the legislature to protect political coalitions rather than

ensuring the equality of Black electoral opportunities. Protecting political

coalitions would violate Section 2 because nothing in Section 2 requires

legislatures to draw election districts in such a manner as “to give minority

voters the most potential or the best potential, to elect a candidate,” as

Plaintiffs are requesting here. Bartlett, 556 U.S. at 15 (emphasis added).

Instead, as this Court correctly found, it only requires new opportunity

districts that are majority-Black when a violation is shown. Order, pp. 509–11.

Proceeding as the Grant Plaintiffs urge would place this Court in “the

untenable position of predicting many political variables and tying them to

race-based assumptions,” which courts are not permitted to do and which this

Court has already expressly said it would not do. Bartlett, 556 U.S. at 17–18;

Order, pp. 240–42.

      Thus, the legislature is not prevented by Section 2 or by this Court’s

Order from eliminating existing majority-white districts to create majority-

Black districts—indeed, there is no other way it could have complied with the

Order.




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      C.    Coalition districts are not required by Section 2, binding
            precedent, or the facts of these cases (Pendergrass).

      Pendergrass Plaintiffs argue that the term “minority opportunity

district” instead protects coalition districts—that is, districts where the total

number of non-white voters is more than 50%. [Pendergrass Doc. 317, pp. 10–

12]. But this is not required by Section 2. And even if it was, Pendergrass

Plaintiffs have not presented evidence of a viable political coalition here.

      Further, while claiming that “minority opportunity district” means

“coalition district,” Pendergrass Plaintiffs also ignore this Court’s discussion of

enacted Congressional District 7. In the Order, this Court did not call enacted

Congressional District 7 a minority opportunity district, but rather referred to

it as a “majority-minority district.” Order, p. 255. And Pendergrass Plaintiffs’

reliance on League of United American Citizens v. Perry, 548 U.S. 399 (2006)

(LULAC), does not help them here. [Pendergrass Doc. 317, p. 9]. In LULAC,

the district at issue had been 57.5% majority-Latino before redistricting. 548

U.S. at 427. Congressional District 7 under the 2021 plans was not majority-

Black (or majority of any single race), and Pendergrass Plaintiffs did not

introduce evidence at trial of voting patterns of non-Black minorities in

enacted Congressional District 7. There is no basis for this Court to conclude

that coalition districts are “minority opportunity districts.”




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            1.    Coalition districts are not required by or protected
                  under Section 2 of the VRA.

      Beginning with the text of Section 2, it expressly protects “members of a

class of citizens” and “members of a protected class.” 52 U.S.C. § 10301(b)

(emphasis added). Both references are to a singular class of citizens, not to

multiple classes of citizens who happen to be politically aligned. Similarly,

paragraph (a) prohibits voting practices that result “in a denial or abridgement

of the right of any citizen of the United States to vote on account of race or

color,” 52 U.S.C. 10301(a), which ties the protections of Section 2 to

membership in a particular racial group, not in a coalition of races. See also

Nixon v. Kent Cty., 76 F.3d 1381, 1386 (6th Cir. 1996) (en banc). From the text

alone, it is clear that Section 2 protects opportunities for single racial groups,

not combinations of various groups.

      Further, the continuing development of Section 2 law shows that

coalition claims are not valid. As discussed above, Bartlett explained that

crossover districts are not required, in part because there is no “special

protection to a minority group’s right to form political coalitions.” 556 U.S. at

15 (emphasis added). The Sixth Circuit has completely rejected coalition-

district claims under Section 2. Nixon, 76 F.3d at 1386. And while the Fifth

Circuit previously authorized coalition district claims, it is currently




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considering whether to overturn its precedent en banc. Petteway v. Galveston

Cty., 86 F.4th 214, 218 (5th Cir. 2023).

      The only Eleventh Circuit precedent on this point was a statement in

introductory language in Concerned Citizens of Hardee Cty. v. Hardee Cty. Bd.

of Comm’rs, 906 F.2d 524, 526 (11th Cir. 1990). That statement was not part

of the holding of the case because the plaintiffs in that case presented no

evidence of cohesion and because the statement was only in the explanation of

the Gingles preconditions section, not the analysis. Id. As a three-judge panel

in this district recently concluded, the Eleventh Circuit’s “assertion about

coalition districts was dicta.” Ga. State Conference of the NAACP v. Georgia,

Civil Action No. 1:21-cv-05338-ELB-SCJ-SDG, 2023 U.S. Dist. LEXIS 192070,

at *47 (N.D. Ga. Oct. 26, 2023) (three-judge court) (citing Pretka v. Kolter City

Plaza II, Inc., 608 F.3d 744, 762 (11th Cir. 2010)).

      Thus, the text of Section 2 exclusively contemplates individual minority

groups as falling within its purview. And under all binding precedent, the

existence of coalition-district claims as a remedy under Section 2 is—at best—

“something of an open question.” Ga. State Conference of the NAACP, 2023 U.S.

Dist. LEXIS 192070, at *46. In light of the unambiguous text of Section 2, this

Court should resolve that question against coalition districts. At the very least,

there is not sufficient law to rely on to determine that a coalition of minority




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voters would be sufficient under the first Gingles precondition to show a

Section 2 violation.

            2.    Plaintiffs have presented no evidence of minority
                  voters forming coalitions that are protected.

      But even if coalition districts could be a valid showing for the first

Gingles precondition, Plaintiffs have not presented sufficient evidence here

because they have presented no evidence that Black, Latino, and Asian voters

are cohesive in any context except in general elections. [Pendergrass Doc. 317-

2, p. 2]; Barber Report, § 2.2. Thus, Plaintiffs have presented no evidence that

shows that Black, Latino, and Asian voters support the same candidates when

partisanship is not a factor. They can only show that these racial groups

support Democratic candidates in the general election.

      Without primary data, Plaintiffs have not presented any evidence that

the cohesion they say exists is anything more than partisan political behavior

by voters. Without this data, there is no proof of things like situations where

“hispanic voters supported and worked for black candidates” or any evidence

that Asian voters, Latino voters, and Black voters “worked together and formed

political coalitions.” Concerned Citizens of Hardee Cty., 906 F.2d at 527.

      Further, Pendergrass Plaintiffs must rely on a coalition of Black, Latino,

and Asian individuals, because the Black and Latino CVAP numbers without

Asian citizens in the enacted Congressional District 7 are below 50%.



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Pendergrass PX-1 (Cooper Report), Ex. K-1 (p. 119); Barber Report, § 2.2. Only

by adding Asian citizens does the analysis push the minority citizen voting age

population of enacted Congressional District 7 over 50%. Barber Report, § 2.2.

But, as discussed below, Pendergrass Plaintiffs have not presented evidence on

many points for Asian voters, including evidence of historical discrimination

or socioeconomic status disparities that affect Asian voters.

      Further, making changes to Congressional District 7, even if it was a

functioning coalition district, does not “offset” minority gains in one part of the

state with losses in another. [Pendergrass Doc. 317, pp. 10-11]. Not only are

the changes made to create the required new majority-Black district primarily

in metro Atlanta instead of across the state, the Supreme Court has still only

ever considered questions of offsets with a single race of voters, not coalitions.

De Grandy, 512 U.S. at 1019. And there is no question that the remedial plans

add opportunities for Black voters, which is what this Court required.

      D.    Districts which elect Democrats are not required by
            Section       2       or       binding    precedent
            (Amici/APA/Grant/Pendergrass).

      Finally, Amici from the three-judge panel cases offer a third possible

definition of “minority opportunity district,” which is a district which reliably




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elects a Democrat. See [APA Doc. 363,11 pp. 12-13]. To illustrate how difficult

it is to make this case even from decisions of other trial courts, Amici place the

bracketed word “[minorities]” in their quote from Wright v. Sumter Cty. Bd. of

Elections & Registration, No. 1:14-CV-42 (WLS), 2020 U.S. Dist. LEXIS 17348,

at *12 (M.D. Ga. Jan. 29, 2020), to replace the phrase “African Americans in

Sumter County” in that quote. This sleight-of-hand effectively rewrites the

meaning of the quoted passage. Amici also misread this Court’s Order—it did

not require “drawing additional Black opportunity districts” in a political-

performance sense, [APA Doc. 363, p. 12]. Instead, this Court required

“additional majority-Black . . . districts.” Order, p. 509.

      In contrast to the Court’s requirements, Amici’s definition of “effective

for Black voters” refers solely to districts that elect Democrats. [APA Doc. 363-

1, p. 7]. While Amici include some primary data from 2018 in an attempt to

avoid relying exclusively on general-election data, they only identify a single

district where they claim there is a divergence between primary and general

election performance.12 See [APA Doc. 363-1, pp. 5–6]. In other words, Amici

simply re-imagine this Court’s Order to require political coalitions, Bartlett,




11 The Court authorized Amici to file the same brief in all three cases. It was

filed at [APA Doc. 363], [Grant Doc. 321], and [Pendergrass Doc. 322]. For ease
of reference, this brief refers to the APA docket numbers.
12 This approach is in sharp contrast to the parties to these cases, who offer no

primary data at this stage.

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556 U.S. at 26, and then use the phrases “Black-preferred” and “white-

preferred” to refer to Democrats and Republicans, respectively. [APA Doc. 363-

1, pp. 5-6].

       Not only does reading Section 2 to require protection of political

coalitions violate Bartlett, it also would make Section 2 unconstitutional

because it would no longer be congruent and proportional to addressing equal

political opportunity for Black voters. See City of Boerne, 521 U.S. at 518. This

Court should reject a definition of “minority opportunity district” that is

designed to ensure Democratic political performance through the VRA.

III.   SB 3EX does not independently violate Section 2 of the VRA
       (Pendergrass).

       Faced with the full compliance of the General Assembly with this Court’s

Order, Pendergrass Plaintiffs launch one final line of attack—that the prior

Congressional District 7 is required by Section 2 and thus any changes to its

boundaries is itself a violation of Section 2. [Pendergrass Doc. 317, pp. 14–27].

       Initially, finding a Section 2 violation on 12 pages of briefing and a

handful of exhibits on an expedited basis without the opportunity for discovery,

cross-examination or any other procedural protections defies the required

“intensely local appraisal” this Court must carry out in the context of Section

2, especially on claims that have never been raised in this case. Wright, 979




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F.3d at 1288. But even if this Court considers the merits of Plaintiffs’ claims,

their claim of a separate Section 2 violation fails.

      A.    There is no sufficiently large and geographically compact
            minority group that constitutes a majority in enacted
            Congressional District 7 (first Gingles precondition).

      In order to find that numerosity of minority voters exists in enacted

Congressional District 7, Pendergrass Plaintiffs must rely on a connections

among three separate minority groups. [Pendergrass Doc. 317, p. 15]. Using

the CVAP metric Plaintiffs rely on, they cannot reach a majority without

including Asian voters, as shown by Mr. Cooper’s expert report in this case,

which shows the total Black and Latino CVAP in enacted Congressional

District 7 is 43.64% using the highest metrics.




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Pendergrass PX-1 (Cooper Report), Ex. K-1 (p. 119); see also Barber Report, §

2.2. Despite the necessity of including Asian voters, the entirety of Pendergrass

Plaintiffs’ evidence for this sweeping three-part political coalition is the

election analysis of Dr. Palmer and the testimony of a single individual before

a legislative committee. [Pendergrass Doc. 317, pp. 17-18].

      For all the reasons outlined in Section II.C. above, coalition districts are

not required by Section 2. But even if they are, for purposes of the first Gingles

precondition, Pendergrass Plaintiffs have presented no evidence of situations

where “hispanic voters supported and worked for black candidates” or any

evidence that Asian voters, Latino voters, and Black voters “worked together

and formed political coalitions,” Concerned Citizens of Hardee Cty., 906 F.2d at

527, beyond similar voting behavior in partisan general elections. This is far

more akin to offering only “anecdotal testimony regarding individual

instances” instead of offering data supporting coalition claims in any context

that is not partisan, such as primary data. Id. Pendergrass Plaintiffs ask this

Court to merely presume a coalition exists because three groups of non-white

voters support Democratic candidates in general elections—that is not

sufficient to meet the numerosity requirement of the first Gingles precondition

because no majority exists otherwise.




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      B.    The second and third Gingles preconditions emphasize the
            political nature of Plaintiffs’ claims.

      Pendergrass Plaintiffs offer Dr. Palmer’s analysis of elections from 2012

to 2022 in enacted District 7 for the proposition of cohesion among voters. But

while Dr. Palmer studiously avoids giving names of candidates or party

affiliation of candidates, the data demonstrates that the cohesion in general

elections only is in support of Democratic candidates. [Pendergrass Doc. 317-

2, pp. 10-11]. But as other experts before this Court explained, primaries can

be a “barrier for Black-preferred candidates.” Order, p. 151 (citing Dr.

Handley’s testimony). Pendergrass Plaintiffs have presented no evidence that

Black, Latino, and Asian voters support the same candidates in primaries or

that those primary elections are not barriers for Black-preferred (or Asian-

preferred or Latino-preferred) candidates.

      While this Court found that concerns about partisanship are properly

raised in the totality of the circumstances analysis, the unique nature of the

coalition claims advanced here requires analysis at the Gingles preconditions

stage. And this Court already concluded that drawing districts where Black

voters are a majority was necessary because of racially polarized voting. Order,

pp. 419–20. Without more, Pendergrass Plaintiffs cannot carry their burden

regarding the political cohesion required under the Gingles preconditions by




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adding all non-white voters together based solely on support for candidates in

partisan general elections.

      C.    The totality of the circumstances does not support a
            finding of lack of equal openness as to a combination of
            Black, Latino, and Asian voters in prior Congressional
            District 7.

      Pendergrass Plaintiffs present the entirety of their totality of the

circumstances evidence in just seven pages of their brief. But that evidence

cannot support a finding of a lack of equal openness as to Black, Latino, and

Asian voters in the prior Congressional District 7.

            1.    Senate Factor 1: This Court cannot import its findings
                  about Black voters to Latino and Asian voters.

      As this Court made clear, the findings it made about the history of

discrimination in these cases were about the history involving Black voters.13

Order, pp. 213–33. Pendergrass Plaintiffs now rely on an expert report from

another case to establish a brand-new Section 2 claim involving coalition

districts, which have never been at issue in this case. As discussed above, this

Court should reject the attempt to find a coalition as a matter of law and on

the Gingles preconditions.




13 Defendant has been unable to locate any reference to Asian voters or Latino

voters in the Order that are unrelated to district statistics.

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      But even if this Court considers what Pendergrass Plaintiffs offer, it

proves nothing about a history of discrimination as to Latino and Asian voters.

Pendergrass Plaintiffs identify three instances with passing references to both

Latino and Asian voters, the newest of which is more than a decade old.

[Pendergrass Doc. 317, pp. 21–22]. They rely on Georgia citizenship-check

processes, where individuals who previously provided documentary proof they

were not citizens are asked for details if they later register to vote. This Court

has already ruled that the process complies with the Constitution and with

Section 2 of the VRA. Fair Fight Action, Inc. v. Raffensperger, 634 F. Supp. 3d

1128, 1235, 1250 (N.D. Ga. 2022). And that process is still in place despite

attempts to enjoin it, while it is also currently the subject of litigation in

Georgia Coalition for the People’s Agenda v. Raffensperger, Case No. 1:18-cv-

04727-ELR (N.D. Ga.). Pendergrass Plaintiffs next rely on a process from 2008-

2009 involving matching records that is also similar to what this Court upheld

in Fair Fight Action. Finally, Pendergrass Plaintiffs cite to an 11-year-old

statement by then-Rep. Stacey Abrams regarding the 2011 redistricting, which

involved plans that were drawn under Section 5 of the VRA and precleared by

the U.S. Department of Justice.14




14 To be clear, even under Plaintiffs’ view, the General Assembly created a

coalition district on the 2021 enacted Congressional plan, undermining then-
Rep. Abrams’ claims.

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      These three isolated instances, one of which has been upheld against

almost-identical claims of racial discrimination, do not suffice to carry

Plaintiffs’ burden to show a history of discrimination against Latino and Asian

voters in Georgia. This is a far cry from the evidence this Court relied on for

the first Senate factor in its Order, which was focused on Black voters. Order,

pp. 216–32.

              2.    Senate Factor 2: No evidence on racially polarized
                    voting beyond what was already presented.

      Pendergrass Plaintiffs offer no evidence at all regarding the second

Senate factor, which is where this Court would analyze the potential impact of

partisanship.      As   this   Court   explained,   determining   “whether   voter

polarization is on account of partisanship and race is a difficult issue to

disentangle.” Order, p. 235. The same issues explained by Dr. Alford infect the

analysis offered here, with no evidence by Pendergrass Plaintiffs of any

connection between race and partisanship of Latino and Asian voters at this

point in the case, unlike the evidence presented to the Court regarding Black

voters. Order, p. 236–37. Further, Pendergrass Plaintiffs have presented no

evidence regarding the success of Latino or Asian candidates based on the

racial makeup of a district. Order, p. 239. And Pendergrass Plaintiffs have

presented no evidence regarding the history of the Republican Party and

Latino and Asian voters. Order, p. 241. Without any evidence on this point,



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this Court cannot conclude that failing to preserve the 2021 enacted

Congressional District 7 means the political processes are not equally open to

Latino and Asian voters.

            3.     Senate   Factor     3:   No     evidence    regarding
                   discriminatory voting practices in the jurisdiction.

      Pendergrass Plaintiffs also offer no evidence regarding Senate Factor 3,

or any impact of particular voting practices in the jurisdiction on Latino and

Asian voters. Again, without evidence about the impact on the alleged

coalition, there is no basis for a finding of a lack of equal openness.

            4.     Senate Factor 5: Socioeconomic indicators for Latino
                   and Asian voters are of limited utility in this context.

      For socioeconomic indicators, Pendergrass Plaintiffs offer a new three-

page report by Dr. Collingwood, summarizing American Community Survey

(ACS) data. Dr. Collingwood did not review data on Latino or Asian Georgians

as part of his expert reports or testify regarding these groups in his direct trial

testimony. See Trial Tr. at 692:9–15, 19–24 (09/07/23) (nothing in Dr.

Collingwood’s reports about Asian-Americans in Georgia).

      Dr. Collingwood’s new report has a number of flaws, especially as

Pendergrass Plaintiffs wish to use it. First, by its terms, the data is only

available at the county level and not at the district level, so this Court cannot

reach conclusions about the voters who are actually within the boundaries of

enacted Congressional District 7. [Pendergrass Doc. 317-5, p. 1].


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      Second, Dr. Collingwood admits in footnote 1 that he was missing data

for Pacific Islanders, compared to Asian-Americans generally, thus admitting

the existence of at least one subgroup within Asian-Americans for which he

does not have data. [Pendergrass Doc. 317-5, p. 1 n.1]. This Court cannot

assume that all Asian voters are similar. Students for Fair Admissions v.

President & Fellows of Harvard Coll., 143 S. Ct. 2141, 2258 (“the Asian

American community is not a monolith”) (Sotomayor, J., dissenting).

      Third, Dr. Collingwood’s report summarizes ACS data, which by its

nature lumps multiple distinct ethnic groups together. According to the ACS

page on the U.S. Census Bureau website, “People who identify with the terms

‘Hispanic’ or ‘Latino’ are those who classify themselves in one of the specific

Hispanic or Latino categories listed on the American Community Survey

questionnaire and various Census Bureau survey questionnaires – ‘Mexican,

Mexican Am., Chicano’ or ‘Puerto Rican’ or ‘Cuban’ – as well as those who

indicate that they are ‘another Hispanic, Latino, or Spanish origin.’” See

https://www.census.gov/acs/www/about/why-we-ask-each-question/ethnicity.

Thus, “Latino” is a broad category embracing numerous subgroups, and Dr.

Collingwood has not attempted to account for the differences among those

subgroups, instead just relying on the concept that they are all similar.

      Further, the socioeconomic data he presents does not demonstrate a

consistency across Latino and Asian households, with Asian individuals far


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closer to (and in some cases exceeding) white socioeconomic standards he cites.

For example, Dr. Collingwood’s data shows that Asian individuals have higher

rates of college education than whites [Pendergrass Doc. 317-5, p. 2, Table 1].

Other data shows a lack of connection with the alleged coalition, with more

white individuals disabled than Asian and Latino individuals and a lower

unemployment rate for Asian and Latino individuals than for white

individuals. Id. Again, this evidence does not demonstrate consistency of

socioeconomic standards for Black, Latino, and Asian voters, which would be

required to find that Senate Factor 5 favors Pendergrass Plaintiffs in their

attempt to establish a coalition in this area.

      Thus,        Pendergrass   Plaintiffs   have   only   presented   inconsistent

socioeconomic data and presented no evidence of Asian and Latino voter

participation. Compare [Pendergrass Doc. 317, p. 22] with Order, pp. 242–50].

Without more, this Court cannot conclude that there is any impact on the

political participation of Black, Latino, and Asian voters in the area of enacted

Congressional District 7.

              5.      Senate Factor 6: No evidence of racial appeals in
                      campaigns.

      Pendergrass Plaintiffs also present no evidence at all on any racial

appeals affecting Latino and Asian voters. Thus, this Court cannot conclude

that the political campaigns in the area of enacted Congressional District 7 are



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“characterized by subtle or overt racial appeals.” Wright, 979 F.3d at 1296. As

it did in its Order, this Court should assign no weight to this factor. Order, p.

252.

            6.    Senate Factor 7: Extent of election of Latino and Asian
                  officials is not relevant when they are not the relevant
                  minority group.

       It is unclear how Pendergrass Plaintiffs ask this Court to apply Senate

Factor 7, because they seek to rely on the lack of Latino or Asian elected

officials. But Plaintiffs admit Georgia currently has a statewide elected Latino

official and a statewide Asian-American official. [Pendergrass Doc. 317, p. 23].

Also, Plaintiffs do not address the statewide Latino and Asian populations,

which are significantly smaller than the Black population in Georgia.

            7.    Senate Factor 8: This Court cannot                   presume
                  unresponsiveness, as it already found.

       Pendergrass Plaintiffs revisit the same approach this Court already

rejected regarding unresponsiveness, simply assuming that unresponsiveness

exists because they do not like the remedial Congressional plan. Pendergrass

Plaintiffs present no evidence of a “determination to impose a ceiling on

minority opportunity in the State” nor any evidence of unresponsiveness. Just

as during the trial, they simply ask this Court to assume unresponsiveness.

This Court already found this kind of approach to Senate Factor 8 is not

appropriate, and it should not be utilized here either. Order, pp. 259–60.



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            8.    Senate Factor 9: This Court already determined the
                  State’s policies were partisan and they remained so.

      Perhaps most surprising given the requirement of presuming the good

faith of the legislature, Pendergrass Plaintiffs attack the motivations of the

General Assembly in adopting the remedial plans. This Court earlier found

that the motivations for the 2021 redistricting plans were non-tenuous because

they were partisan, Order, pp. 260–62, and the statements of legislators in the

2023 special session match that approach—they repeatedly emphasized that

they were seeking to achieve partisan ends while also complying with the

Court’s Order and taking into account a variety of traditional redistricting

principles and communities of interest. See, e.g., Ex. C at 10:22–11:12; Ex. D

at 24:21–25,

      Pendergrass Plaintiffs also attempt to import the entirety of their

“beauty contest” approach into this Senate factor, claiming that the mere fact

that the General Assembly lowered the compactness scores for districts it had

previously created showed some improper intent. Pendergrass Plaintiffs again

claim that coalition district precedent is “binding,” [Pendergrass Doc. 317, pp.

24-25], when that is simply not true.

      Finally, Pendergrass Plaintiffs walk right up to the line of alleging

intentional racial discrimination by the General Assembly during the 2023

special session. Not only does this ignore the required presumption of good



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faith to legislative actions, it is inappropriate to conclude based on a single

legislator’s statement. Greater Birmingham Ministries v. Sec’y of Ala., 992 F.3d

1299, 1324 (11th Cir. 2021). Further, this claim ignores the careful,

deliberative process the General Assembly undertook and explained in

committee meetings about the plan. See Facts Regarding Remedial Plans,

Sections II–V, above. Pendergrass Plaintiffs have not offered any evidence that

supports a finding of intentional racial discrimination, nor is that appropriate

to consider under this Senate factor.

        Just like the evidence at trial, partisanship by a political branch is not a

tenuous justification and does not support a finding of a Section 2 violation

here.

        D.    Pendergrass Plaintiffs have not shown a Section 2 violation
              from changing the character of District 7.

        Pendergrass Plaintiffs are wrong on the law and have not put forward

sufficient evidence to support their claims about enacted Congressional

District 7. Although it originally drew Congressional District 7 as a coalition

district in 2021 as an exercise of state policy, the General Assembly is not

required to draw a coalition district where Congressional District 7 was

previously located. Even if it was, Pendergrass Plaintiffs have not put forward

sufficient evidence of a coalition that could support a Section 2 claim in that

area based on the Gingles preconditions, especially considering the significant



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differences in Asian, Latino, and Black voters in the district. Further,

Pendergrass Plaintiffs have not shown that the totality of the circumstances

shows a lack of equal openness for Asian, Latino, and Black voters in the area

covered by the former Congressional District 7. As a result, Pendergrass

Plaintiffs have not shown that the Congressional remedial plan has any

Section 2 violation in it, and there is no reason to stop the State from using

that plan in the 2024 elections.

IV.   This   Court    should          not       adopt     Plaintiffs’    plans
      (APA/Grant/Pendergrass).

      Even if this Court determines that the General Assembly plans should

not be used, it should not adopt Plaintiffs’ plans outright. This Court is

required to defer to the legislative policy determinations as far as is possible

except in situations where there are separate violations of Section 2 or the

Constitution. Tallahassee Branch of NAACP, 827 F.2d at 1438. The Court now

has the benefit of the General Assembly’s remedial plans and must defer to the

policy decisions made in those plans as far as is possible. Because none of

Plaintiffs’ plans were drawn with those policy goals in mind, they are not

appropriate remedies for this Court to order.

V.    Time is of the essence to ensure election officials can administer
      the 2024 elections (APA/Grant/Pendergrass).

      As this Court is aware, the administration of elections is a complicated

endeavor, and works backward from the date of the election. Alpha Phi Alpha


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Fraternity v. Raffensperger, 587 F. Supp. 3d 1222, 1321 (N.D. Ga. 2022). Under

the 2024 election calendar, which is attached as Ex. J, the addition of the

Presidential Preference Primary in March 2024 complicates the election

schedule this year. Nomination petitions can be circulated as early as January

11, 2024, and qualifying for the May Primary and November General elections

begins on March 4, 2024 at 9:00am. Ex. J, pp. 1, 3. Time is of the essence to

ensure the parameters of the election are set before the eve of the election.

Purcell v. Gonzales, 549 U.S. 1, 4–5 (2006) (per curiam); Republican Nat’l

Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1207 (2020).

                                CONCLUSION

      The Georgia General Assembly took this Court and its obligations to

Georgia voters seriously and fulfilled the mission this Court gave it—to create

additional majority-Black districts in defined areas, while also complying with

other traditional redistricting principles.

      Plaintiffs admit the General Assembly drew the districts this Court

required. And their objections are based on partisanship rather than in fact or

law. But Plaintiffs’ mere dislike of the political outcome of their case is not a

legal ground for the Court to reject the remedial plans. Georgia’s remedial

maps fully comply with this Court’s Order and the Voting Rights Act. This

Court should overrule Plaintiffs’ objections and allow Georgia to use its chosen

district maps in the 2024 election cycle.


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Respectfully submitted this 18th day of December, 2023.


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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Response Brief has been prepared in Century Schoolbook 13, a font

and type selection approved by the Court in L.R. 5.1(B).

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